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 6

 7
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                       )       No. 2:14-CR-00022 JAM
                                                     )
11
                                                     )       STIPULATION REGARDING
            Plaintiff,                               )       EXCLUDABLE TIME PERIODS UNDER
12
                                                     )       SPEEDY TRIAL ACT; FINDINGS AND
     v.                                              )       ORDER
13
                                                     )
     MARCUS A. COOPER,                               )
14
                                                     )
     TIANA E. NAPLES,                                )
15   LETICIA A. ROQUE,                               )
                                                     )
16
            Defendants.                              )
                                                     )
17

18
                                         STIPULATION
19          Plaintiff United States of America, by and through its counsel of record, and the

20   defendants, by and through his/her counsel of record, hereby stipulate and request that the Court
21
     make the following findings and Order as follows:
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            1.      By previous order, this matter was set for status on July 22, 2014.
23

24
            2.      By this stipulation, the defendants now move to continue the status conference

25   until September 30, 2014, and to exclude time between July 22, 2014, and September 30, 2014,
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     under Local Code T4. Plaintiff does not oppose this request.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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            a.      The government has represented that the discovery associated with this case
 1

 2   includes approximately 400 pages of investigative reports and related documents in electronic

 3   form. All of this discovery has been either produced directly to counsel and/or made available
 4
     for inspection and copying.
 5
            b.      Counsel for each defendant desires additional time to review discovery, confer
 6

 7
     with his/her client to discuss the status of the case, review the sentencing guidelines and possible

 8   defenses and conduct investigation.
 9          c.      Counsel for each defendant believes that failure to grant the above-requested
10
     continuance would deny him/her the reasonable time necessary for effective preparation, taking
11
     into account the exercise of due diligence.
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13          d.      The government does not object to the continuance.

14          e.      Based on the above-stated findings, the ends of justice served by continuing the
15
     case as requested outweigh the interest of the public and the defendant in a trial within the
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     original date prescribed by the Speedy Trial Act.
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            f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
18

19   et seq., within which trial must commence, the time period of July 22, 2014 to September 30,

20   2014, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code
21
     T4] because it results from a continuance granted by the Court at defendant’s request on the basis
22
     of the Court's finding that the ends of justice served by taking such action outweigh the best
23
     interest of the public and the defendant in a speedy trial.
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25                  4.      Nothing in this stipulation and order shall preclude a finding that other

26   provisions of the Speedy Trial Act dictate that additional time periods are excludable from the
27
     period within which a trial must commence.
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                                                       2
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 1

 2   IT IS SO STIPULATED.

 3   Dated: July 17, 2014                              U.S. ATTORNEY
 4
                                                 by:   /s/ Matthew Morris
 5                                                     MATTHEW MORRIS
                                                       Assistant U.S. Attorney
 6                                                     Attorney for Plaintiff
 7

 8   Dated: July 17, 2014                              /s/ Tasha Paris Chalfant
                                                       TASHA PARIS CHALFANT
 9                                                     Attorney for Defendant
10
                                                       LETICIA A. ROQUE

11
     Dated: July 17, 2014                              /s/ Ben D. Galloway
12
                                                       BEN D. GALLOWAY
13                                                     Attorney for Defendant
                                                       TIANA E. NAPLES
14

15
     Dated: July 17, 2014                              /s/ Candice L. Fields
16                                                     CANDICE L. FIELDS
                                                       Attorney for Defendant
17                                                     MARCUS A. COOPER
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20
                                         ORDER

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     IT IS SO FOUND AND ORDERED this 17th day of July, 2014.

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                                                 /s/ JOHN A. MENDEZ
26                                               HON. JOHN A. MENDEZ
                                                 UNITED STATES DISTRICT JUDGE
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